    Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 1 of 11 PageID: 249




                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


    UNITED STATES OF AMERICA
                                                         Crim. No. 20-803 (KM)
        v.                                                 Crim. No. 20-782 1

    LAMONT VAUGHN,
                                                     MEMORANDUM and ORDER
                        Defendants.


       The defendant, appearing pro se with standby counsel, has filed an
appeal from an order of the Magistrate Judge extending the deadline for
holding a preliminary hearing under Fed. R. Crim. P. 5.1. (20cr782 DE 1;
20cr803 DE 15) He makes a largely correct argument that the Magistrate
Judge erred in granting the government’s motion for an extension, but the
error does not have the consequences he assigns to it—i.e., dismissal of the
criminal case with prejudice. The case law unanimously holds that where, as
here, a grand jury has indicted the defendant, conclusively establishing
probable cause, there is no deprivation requiring a remedy.
     A. Background
       I relate only the procedural history most pertinent to the appeal. On
August 30, 2020, a criminal complaint was filed, charging the defendant with
possession with intent to distribute oxycodone, in violation of 21 U.S.C. §
841(a)(1) and possession of a firearm by a convicted felon, in violation of 18
U.S.C. § 922(g). (DE 1) On August 17, 2020, he had an initial appearance
before Magistrate Judge Waldor. (DE 3) She entered an order of temporary




1      As a result of prior proceedings, relevant filings have appeared under docket
numbers 20 mj 15325 and 20 cr 782. All future filings should be made under this
docket number, 20 cr 803. Citations to docket entries (“DE”), unless otherwise
specified, are to the docket in 20 cr 803.
  Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 2 of 11 PageID: 250




detention. (DE 6) On August 20, 2020, he had a detention hearing before
Magistrate Judge Waldor, who entered an order of pretrial detention. (DE 8)
      The defendant declined to waive a preliminary hearing. Because the
defendant is in custody, Fed. R. Crim. P. 5.1(d) requires that a preliminary
hearing ordinarily be held within 14 days after arrest. Accordingly, Judge
Waldor scheduled a preliminary hearing for August 28, 2020.
      On August 24, 2020, the government filed a motion to extend the
deadline for a preliminary hearing. Such an extension is permitted, but “the
magistrate may extend the time limits only on a showing that extraordinary
circumstances exist and justice requires the delay.” Fed. R. Crim. P. 5.1(d); see
also 18 U.S.C. § 3060(c) (“the judge or magistrate judge may extend the time
limits only on a showing that extraordinary circumstances exist and justice
requires the delay”). As “extraordinary circumstances,” the government cited
such factors as the COVID-19 pandemic and the attendant difficulties, which
are well known to all; the state of emergency declared in New Jersey, requiring,
e.g., that citizens shelter in place; and the standing orders of this Court,
suspending certain deadlines under the Speedy Trial Act, including the 30-day
deadline to obtain an indictment under 18 U.S.C. § 3161(b).
      The government offered generalities about the difficulties of travel,
unavailability of those responsible for child care, limitations on prison visits,
the health risks of in-person proceedings, and difficulties in “bringing in
witnesses to prepare for and testify at a preliminary hearing.” It offered no
specifics about any particular witness who would be unavailable or any
particular person whose child-care responsibilities would bar an appearance
before but not after August 28, 2020. Nor did the government address the
obvious alternative procedure of conducting proceedings by video—as has been
done in many cases, including this very case.
      The only specific basis for an adjournment cited by the government was
the inability to obtain a grand jury quorum. “Ordinarily,” said the government,
“this would be a case the government would seek to indict in order to protect
witness statements in open court, and to avoid the possible identification of
    Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 3 of 11 PageID: 251




such witnesses at this early stage of the litigation However, COVID-19
pandemic and the inability to obtain a grand jury quorum has prevented the
government from proceeding by indictment by August 28, 2020. However, the
Government anticipated being able to present the case to the Grand Jury on
September 11, 2020.” (DE 9 at 4)
       The Magistrate Judge accepted the lack of a grand jury quorum as the
primary basis to grant an extension of the preliminary hearing deadline:
              4. The government has proffered that the COVID-19
       pandemic and resulting government restrictions have prevented it
       from obtaining a grand jury quorum so it can present the charges
       to a grand jury. . . .

               6. The COVID-19 pandemic continues and social-
       distancing regulations have prevented a quorum of the grand jury.
       . . . Extraordinary circumstances exist and the interests of justice
       would be served by extending the time for a preliminary hearing.

(Order of Magistrate Judge dated Aug. 27, 2020, DE 12) That order adjourned
the deadline for a preliminary hearing until September 18, 2020. (Id.).
       On August 28, 2020, the defendant filed an appeal from the Magistrate
Judge’s order extending the preliminary hearing date. (DE 15) 2
       Before the extended preliminary hearing date, on September 16, 2020,
the grand jury returned an Indictment. (DE 17) It contains six counts:
       1. Possession with intent to distribute oxycodone (21 U.S.C. § 841(a)(1)
          and (b)(1)(C);

       2. Possession with intent to distribute fentanyl (21 U.S.C. § 841(a)(1)
          and (b)(1)(C);

       3. Possession with intent to distribute Tapentadol (21 U.S.C. § 841(a)(1)
          and (b)(1)(C);

       4. Possession with intent to distribute Alprazolam (21 U.S.C. § 841(a)(1)
          and (b)(1)(C);

       5. Possession of a firearm by a convicted felon (18 U.S.C. § 922(g)(1))


2     The appeal was originally docketed under its own criminal number, 20cr782. A
responding submission by the government appears on that docket as 20cr782 DE 4.
    Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 4 of 11 PageID: 252




       6. Possession of a firearm in furtherance of a drug trafficking crime (18
          U.S.C. § 924(c)(1)(A)(i)).

       The case was assigned to me on September 25, 2020. (DE 19)
       On September 30, 2020, arraignment took place via video. I also heard
oral argument of the defendant’s appeal from the Magistrate Judge’s order
extending the preliminary hearing deadline. Finding it unclear whether specific
facts had been placed before the Magistrate Judge, I therefore gave the parties
until close of business on the following day, October 1, 2020, to clarify with a
supplemental submission.
       As of this writing, I have not seen such any such submission from the
government. The defendant has made a supplemental submission. (DE 22)
    B. Extraordinary Circumstances
       The Magistrate Judge’s factual findings were clearly erroneous, but
primarily as a result of the application of an erroneous legal standard. The
error, in my view, is that “extraordinary circumstances,” for purposes of Rule
5.1(d), must surely mean circumstances that prevent the government from
holding a preliminary hearing — not circumstances that prevent the
government from obtaining an indictment and thereby avoiding a preliminary
hearing.
       Now of course there is a prosecutorial preference for indictments, rather
than preliminary hearings. In a felony case, an indictment will have to be
obtained anyway, and the grand jury’s finding of probable cause eliminates the
necessity of a preliminary hearing. Fed. R. Crim. P. 5.1(a) (“the magistrate
judge must conduct a preliminary hearing unless . . . (2) the defendant is
indicted; . . . . ”) In the Court’s experience, preliminary hearings therefore
rarely occur; the prosecution simply indicts promptly, eliminating the need for
them. 3 Rule 5.1 leaves it open for the government to exercise that preference,

3      The defendant strenuously objects to the system by which a grand jury finding
of probable cause can eliminate the need for a preliminary hearing, arguing that it
prevents the defendant himself from challenging the government’s case at the earliest
possible time. That is a legitimate perspective, but the law was long ago settled to the
contrary. United States v. Farries, 459 F.2d 1057, 1061 (3d Cir. 1972) (“Once an
  Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 5 of 11 PageID: 253




but a preference is not an entitlement. The subject matter of the Rule is
preliminary hearings, and the “extraordinary circumstances” justifying a delay
must be circumstances that impair the timely holding of a preliminary hearing.
      For example, in Elms v. United States, 2020 U.S. Dist. LEXIS 76594, at
*5-7, 2020 WL 2085970 (D. Nev. Apr. 30, 2020), the court found that the
COVID-19 outbreak did not constitute “extraordinary circumstances.” As in
this case, it found that the government’s presentation spoke in generalities
about difficulties, but did not state any specifics about particular witnesses or
evidence that would be unavailable. The Elms court rejected the government’s
argument that there was no grand jury sitting, holding that the government
should have foreseen that and prepared to proceed via preliminary hearing over
a video conference. Id. at *4 (citing United States v. Fortenberry, No. 2:14-MJ-
673-VCF, 2014 WL 6969615, at *2 (D. Nev. Dec. 8, 2014) ((“Rule 5.1 does not
permit continuance solely to enable the government to avoid a preliminary
hearing by securing an indictment[.]”) (citation and internal punctuation
omitted)). See also United States v. Summerfield, 2020 U.S. Dist. LEXIS 69490,
at *2-3 (D. Nev. Apr. 20, 2020).
      On the other hand, in United States v. Carrillo-Villa, 2020 U.S. Dist.
LEXIS 58727, at *5-6, (S.D.N.Y. Apr. 2, 2020), the court found that COVID did
create extraordinary circumstances because law enforcement officials would
have had to travel into the district to testify and sensitive information might
need to be disclosed. That case occurred in Manhattan on April 2, 2020,
however, at the very height of the COVID epidemic in this area. United States v.
Aguirre, 2020 U.S. Dist. LEXIS 62158, 2020 WL 1433349 (S.D. Cal. Mar. 20,
2020) relied on a court-wide order suspending “all proceedings under Federal
Rule of Criminal Procedure 5.1” until April 16, 2020.
      In terms of COVID-19, we in the New York metropolitan area are
fortunately not where we were in March and April. And here, the government

indictment has been returned a preliminary hearing is not required,”) In short, if
everything had been done timely, the defendant would stand in precisely the same
position.
    Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 6 of 11 PageID: 254




made no showing that a preliminary hearing, as opposed to an indictment,
could not be obtained before August 28. As noted, the prosecution’s
submission speaks in generalities about the difficulties engendered by the
COVID-19 pandemic. It gives no specifics about why a preliminary hearing
could not be held by video; more to the point, it gives no reason that a
preliminary hearing could not be held before August 28, 2020, but could be
held in early September. If a specific hardship or difficulty were identified, the
Magistrate Judge would surely have endeavored to accommodate it, but no
specific scheduling or other conflict was proffered. If a witness critical to the
preliminary hearing were endangered, an ex parte showing could have been
attempted, but none was requested. The cited district-wide order suspending
certain deadlines under the Speedy Trial Act, as defendant and his counsel
point out, is not relevant; it does not speak to the Rule 5.1 deadline.
       The only concrete reason given for the requested delay was the inability
to obtain a grand jury quorum before August 28. That, as I say, was an
insufficient justification. The government has two alternatives for establishing
probable cause: one is to indict, but if that alternative is unavailable, the Rule
obligates it to establish probable cause by a preliminary hearing.
       In short, the defendant is thus far substantially correct. What he fails to
establish, however—and the government’s discussion was of limited help—is
that he is entitled to the remedy of dismissal without prejudice of the criminal
charges as a result of this error. 4

4      I have reviewed all submissions in the case, but I make particular note of the
defendant’s supplemental submission, filed late yesterday, October 1, 2020. (DE 22) It
consists first of a recital of the facts, in which the defendant makes the point, which I
accept, that specific facts justifying a delay were not submitted to the Magistrate
Judge by the government. (DE 22 at 4–5). It reiterates the defendant’s demand for
dismissal of the criminal case with prejudice. (Id. at 6–7) It attaches copies of two prior
submissions by standby defense counsel. (Id. at 8–13) Also attached is an excerpt of a
district court opinion in one of Mr. Vaughn’s prior criminal cases, dating from 2015,
imposing sanctions for failure to preserve a police officer’s text messages but denying
dismissal of the indictment. One of the prosecutors in that prior case was Ms.
Mahoney. The issues are unrelated to those currently before this court, but the
defendant impugns her motives. (Id. at 14–18) Finally, the defendant attaches the
notes from which he read his oral argument. While much of the material was familiar
    Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 7 of 11 PageID: 255




    C. Remedy
       Rule 5.1 is silent as to the proper remedy where the 14-day deadline is
missed, or is judicially extended, but not on a proper basis. It addresses only
the situation where a hearing is held but probable cause is found lacking:
       (f) Discharging the Defendant. If the magistrate judge finds no
       probable cause to believe an offense has been committed or the
       defendant committed it, the magistrate judge must dismiss the
       complaint and discharge the defendant. A discharge does not
       preclude the government from later prosecuting the defendant for
       the same offense.

Fed. R. Crim. P. 5.1(f). That release, as the Rule states, is without prejudice to
further prosecution of the same offense. As the Advisory Committee Notes
state, this means that where a lack of probable cause is found, the government
may simply re-charge the case and start over. That strongly suggests that the
defendant’s maximalist position—that a finding of probable cause which is
merely late entitles him to dismissal with prejudice—is incorrect.
       Title 18, U.S. Code, Section 3060(d) provides as follows:
       (d) Except as provided by subsection (e) of this section, an arrested
       person who has not been accorded the preliminary examination 5
       required by subsection (a) within the period of time fixed by the
       judge or magistrate judge in compliance with subsections (b) and
       (c), shall be discharged from custody or from the requirement of
       bail or any other condition of release, without prejudice, however,
       to the institution of further criminal proceedings against him upon
       the charge upon which he was arrested.

The cited subsection 3060(e) provides that a preliminary hearing is not
required if an indictment is returned “prior to the date fixed for the preliminary
examination.” (Emphasis added.) That did not occur here; the indictment came
before the extended preliminary hearing date, but I have found that the
extension was incorrectly granted.


from the argument, there was some additional material, which I reviewed. (Id. at 19–
33)
5     The Rule uses the term “preliminary hearing”; the statute, “preliminary
examination.” There is no difference in substance.
  Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 8 of 11 PageID: 256




      Section 3060 comes closer to our situation, but does not quite cover it. In
a case where an arrestee has simply “not been accorded” the right to a showing
of probable cause via a preliminary hearing, dismissal and discharge would
seem to be required. (Here again, however, the remedy is “without prejudice”
and the government may immediately re-charge the defendant and start over.)
Elms granted the § 3060(d) remedy because that was such a case—i.e., one in
which the arrestee had “not been accorded” a probable cause determination at
all, whether by preliminary hearing or by indictment.
      Here, however, defendant Vaughn has received the required finding of
proper cause in the form of an indictment. True, he received it belatedly (once
the improperly granted extension is disregarded), but receive it he did. That,
under the unanimous case law, is a distinction with a difference. The case law
is virtually unanimous that an indictment, even if belated, cures a defect in the
preliminary hearing process.
      One way to view it is this: Assume the court had denied the extension
and the charges in the criminal complaint had been dismissed on Day 15 for
failure to hold a preliminary hearing. That dismissal would necessarily have
been “without prejudice . . . to the institution of further criminal proceedings
against [defendant Vaughn] upon the charge upon which he was arrested.” 18
U.S.C. § 3060(d). The subsequent Indictment is just that—the “institution of
further criminal proceedings” on the same charges on which Mr. Vaughn was
arrested (as well as four others). At his point, to go back, dismiss the now-
superseded criminal complaint, and immediately re-arrest the defendant would
be a meaningless gesture; the complaint has been superseded by a felony
Indictment, based on a finding of probable cause, which is now the operative
charging document. See generally United States v. Dorsey, 462 F.2d 361, 363
n.2 (3d Cir. 1972) (“[T]he grand jury supersedes the complaint procedure by
returning an indictment.”) (quoting Jaben v. United States, 381 U.S. 214, 220
(1965)).
      “[T]he sole purpose of the preliminary examination is to test probable
cause in order that innocent persons will not continue under arrest. If that
  Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 9 of 11 PageID: 257




determination is made by another means, there is no prejudice to defendant.”
United States v. Milano, 443 F.2d 1022, 1024-25 (10th Cir. 1974). In Milano, a
continuance of the preliminary hearing date was improperly issued over
defendant’s objection, without the necessary § 3060 findings, but the day after
the continued preliminary hearing date, the government obtained an
indictment. The court reasoned that the § 3060(d) remedy of dismissal did not
apply in such a case:
            It does not appear in the record before us whether the first
      continuance, issued over defendant's objection, was an order of a
      judge of the district court made after the appropriate findings
      required by 18 U.S.C. § 3060(c). But even if this were not the case,
      there would be no grounds for reversal. First, a defendant's remedy
      for an improperly delayed preliminary examination is discharge
      from custody or the requirement of bond under 18 U.S.C. §
      3060(d). This release is without prejudice to the institution of
      further proceedings upon the same charge. Second, no preliminary
      examination is required if an indictment is obtained first. 18
      U.S.C. § 3060(e). We take these two sections to mean that
      defendant's remedy, if he was entitled to any, was release when his
      preliminary hearing was delayed, but that he could still be tried for
      the same offense if an indictment were subsequently handed down.
      The statute, as we read it, determines that the sole purpose of the
      preliminary examination is to test probable cause in order that
      innocent persons will not continue under arrest. If that
      determination is made by another means, there is no prejudice to
      defendant.

Id at 1024–25. In short, the 18 U.S.C. 3060(d) release “remedy extends only to
defendants who remain in custody without being properly charged.” United
States v. Aranda-Hernandez, 95 F.3d 977, 979 (10th Cir. 1996) (emphasis
added). Where there has been an indictment, “there is no relief this court can
provide [defendant] for this departure from 18 U.S.C. 3060(b)” Id..
      The Tenth Circuit’s reasoning appears to have been adopted by all of the
courts which have subsequently considered the issue. See United States v.
Smith, 22 F. App’x 137, 138 (4th Cir. 2001) (subsequent indictment “obviated
the remedy Smith could have obtained from the denial of his preliminary
 Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 10 of 11 PageID: 258




hearing” and thus “his right to discharge pursuant to 3060 ceased” because
the “exclusive purpose of a preliminary hearing is to permit a determination of
probable cause . . . ‘an indictment, fair upon its face, returned by a properly
constituted grand jury, conclusively determines the existence of probable
cause.’”) (quoting Gerstein v. Pugh, 420 U.S. 103, 103 n.19 (1975)); United
States v. Rogers, 455 F.2d 407, 412 (5th Cir. 2012) (the defendant should have
been released upon denial of his preliminary hearing, but only “prior to
indictment. Once indicted, the government was entitled to hold him under the
indictment.”); United States v. Williams, 526 F. App’x 29, 35-36 (2d Cir. 2013)
(“as a result of being indicted, any claim that the defendant might have had for
release pending further criminal proceedings was rendered moot”); United
States v. Lizarraga-Tomayo, 2005 U.S. Dist. LEXIS 31669, at *5 (D. Ariz. Dec.
1, 2005) (same); United States v. Assenza, 337 F. Supp. 1057 (M.D. Fla. 1972)
(same); United States v. Battle, 2020 U.S. Dist. LEXIS 168858, at *3 (E.D.N.Y.
Sept. 15, 2020) (“defendant’s motion . . . for release from custody, was
rendered moot by the return of the indictment.”).
      The defendant compares this case to his prior criminal case, in which
failure to preserve evidence led to sanctions in the form of exclusion of evidence
(but not dismissal of the charges). This is not, however, a case of prosecutorial
or police misconduct; it is one of judicial error. That is, the AUSA applied for an
adjournment of the preliminary hearing date, the Magistrate Judge granted it,
and the prosecution obtained an indictment before the adjourned date. In
hindsight, I have found that the extension order lacked a sufficient basis. It
would be disproportionate and inconsistent with the case law, however, to
unwind the entire case and dismiss a no-longer-operative criminal complaint.
The defendant has now received the finding of probable cause to which he is
entitled.
Case 2:20-cr-00803-KM Document 26 Filed 10/02/20 Page 11 of 11 PageID: 259




                                  ORDER
    Accordingly, IT IS this 2d day of October, 2020,
    ORDERED as follows:
    1. The defendant’s appeal from the Magistrate Judge’s order (20cr803
       DE 15; 20cr782 DE 1) is GRANTED IN PART to the extent that the
       Magistrate Judge’s grant of an extension of the preliminary hearing
       date is reversed
    2. The defendant’s appeal is in all other respects DENIED, in particular
       as to the requested 18 U.S.C. § 3060(d) remedy of dismissal and
       discharge;
    3. The letter docketed as the government’s motion to vacate defendant’s
       appeal (20cr782 DE 4) shall be considered, not as an independent
       motion, but as the government’s opposition to the appeal;
    4. The clerk shall file this opinion and order under both docket
       numbers, 20cr782 and 20cr803.


                                   /s/ Kevin McNulty
                                   ____________________________________
                                   Kevin McNulty
                                   United States District Judge
